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                               IJM TED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 cwssso./f,> J.sr-M # rA#'v =        .




      UM TED STATES OF AG RICA
      Vs.

      JUAN CAR#,OS RODRIGUEZ ESPIN OSA,

                 Defendant.
                                                    I

                                        FACTUAI,PROFFER

            The parties agree that,had this case procceded to trial,the United States would have
      proven beyond a reasonable doubtthe following factspwhich JuAN CARLOS RODRIGU EZ
      ESPINOM (the'refendant'')acceptsastrueandaccurate:
            The Defendantwas the owner and operator ofRapid ExportServiccs,LLC,(i6 ltapid
      Expolf') a freightforwarding company in Miami,Florida. From in oraround March 2016
      through in or around M ay 2016,the Defendantreceived,in M iami,Florida, 13 containers of
      alcoholand cigarettestbatwere originally shipped from Panam a. The Defendantarranged for
      the 13 containers to be held eçin bond''ata bonded warehouse operated by Double Ace Cargo,
      Inc. ('O ouble Ace>'), a freight forwarding company. Subsequenty Double Ace, at the
      Defendant'srequest,exported the 13 containersto theDominican Republic.
              Before Double Ace exported the 13 containers to the Dom inican Republic, the
      Defendant, based on instructions he received fw m his client in the Dominican Republic,
      instructed employees atDoubleAce to change the comm odity description on the outgoing bills
      of lading.The Defendant instm ctcd the employees atDouble Ace to change the com modity
      description to the following com modities:paper,raw m aterial, sm thetic textiles or hospital
      supplies(asopposedto cigarettesand alcohol). TheDefendantactedwith tbeintenttoconceal
      thenature ofthe goodsfrom the customsauthoritiesin the Dom inican Republic. n e Defendant
      knew that providing false inform ation on the bills of lading was contrary to the laws and
      regulationsoftheUnited States,specifically Title49,United StatesCode,Section 80116.


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              n epreceding statem entisasum mary,made forthepurposeofproviding theCourtwith
       a factual basis for the charges againstthe Defendant. lt does not include a11 of the facts
       concmning crim inalactivity alleged in the Information. The Defendantacknowlcdgesthathe is
       in factguiltyofthe crimescharged.



                                                ARIANA FM ARDO ORSHAN
                                                UNITED STATES ATTOW Y


       tlate: 9r 19- 6            By:
                                         YISEL ALDE
                                         ASSI ANT UNITED STATES ATTORNEY



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               s'
                a'ltc             By:
                                         ùEùRGEpAcLàs
                                         ATTORNEY FOR D         NDANT



       oate,jtwz-/lel             By:
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                                                         S RODRIGW Z ESPW OZA
                                         DEFENDA




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